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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION

KAYLAND HAYES,                                        )
                                                      )
       Plaintiff,                                     )
                                                      )
v.                                                    )    No.: 2:21-cv-2354-SHM/atc
                                                      )
UNION HEALTH, LLC d/b/a                               )
CRISP CONNECTIONS,                                    )
                                                      )
       Defendant.                                     )


                      ORDER OF DISMISSAL WITH PREJUDICE


       Before the Court is parties’ November 16, 2021 joint stipulation of dismissal with

prejudice (D.E. 22). Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and the

parties’ joint stipulation, this action is DISMISSED WITH PREJUDICE, with each party

bearing that party’s own attorney’s fees and costs.

        IT IS SO ORDERED this 16th day of November, 2021.


                                             /s/ Samuel H. Mays, Jr._____________
                                             SAMUEL H. MAYS, JR.
                                             UNITED STATES DISTRICT JUDGE
